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   4Entered on Docket
    July 28, 2022
___________________________________________________________________
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   6
     Jeffrey L. Hartman, Esq.              Michael S. Budwick, Esq. #938777 – Admitted Pro Hac Vice
   7 Nevada Bar No. 1607                   Solomon B. Genet, Esq. #617911 – Admitted Pro Hac Vice
     HARTMAN & HARTMAN                     Meaghan E. Murphy, Esq. #102770 – Admitted Pro Hac Vice
   8                                       Gil Ben-Ezra, Esq. #118089 – Admitted Pro Hac Vice
     510 W. Plumb Lane, Suite B
   9 Reno, NV 89509                        Alexander E. Brody, Esq. # 1025332 – Admitted Pro Hac Vice
     T: (775) 324-2800                     MELAND BUDWICK, P.A.
  10 F: (775) 324-1818                     3200 Southeast Financial Center
     notices@bankruptcyreno.com            200 South Biscayne Boulevard
  11                                       Miami, Florida 33131
  12                                       T: (305) 358-6363
                                           F: (305) 358-1221
  13                                       mbudwick@melandbudwick.com
                                           sgenet@melandbudwick.com
  14
                                           mmurphy@melandbudwick.com
  15                                       gbenezra@melandbudwick.com
                                           abrody@melandbudwick.com
  16
       Attorneys for Christina W. Lovato, Chapter 7 Trustee
  17
                               UNITED STATES BANKRUPTCY COURT
  18                                  DISTRICT OF NEVADA
  19
       In re
  20                                                   Lead Case No.: BK-19-50102-gs
       DOUBLE JUMP, INC.                               (Chapter 7)
  21                                                   Substantively Consolidated with:
                  Debtor.
  22
                                                          19-50130-gs   DC Solar Solutions, Inc.
  23                                                      19-50131-gs   DC Solar Distribution, Inc.
                                                          19-50135-gs   DC Solar Freedom, Inc.
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     CHRISTINA W. LOVATO,                                   Adversary No.: 21-05028-gs
 1
                  Plaintiff,                             AGREED ORDER ESTABLISHING
 2
     v.                                                  DISCOVERY PLAN AND SCHEDULING
 3                                                       ORDER
     KING SOLARMAN, INC., et al.,
 4
                  Defendants.                            Hearing Date: N/A
 5                                                       Hearing Time:

 6
 7
 8           The Court having reviewed the pleadings on file, having been apprised of the agreement
 9   between Plaintiff, Christina W. Lovato, chapter 7 trustee (“Plaintiff”) and Defendants, King
10   Solarman, Inc. and Chiang Lian Cung a/k/a Michael Cung (together, “Defendants”), having
11   considered the presentations of counsel at the June 9, 2022 Status Conference, and for good
12   cause appearing,
13           IT IS ORDERED that the Court adopts the Scheduling Order, as follows:
14           1.        Pre-Discovery Disclosures. The parties have already made initial disclosures
15   pursuant to Fed. R. Civ. P. 26(a)(1).
16           2.        Discovery Plan. The parties jointly propose to the court the following discovery
17   plan:
18                     a. Discovery will be needed on all matters within the scope of F.R.C.P. 26(b).
19                     b. Fact discovery commenced in time to be completed by February 28, 2023.
20                     c. Supplementations under Rule 26(e) due March 20, 2023.
21                     d. All discovery shall be governed by the Federal Rules of Civil Procedure, as
22                         made applicable by the Federal Rules of Bankruptcy Procedure.
23                     e. Disclosure of expert testimony under Rule 26(a) due from Plaintiff and from
24                         Defendants by March 27, 2023.
25                     f. Expert discovery commenced in time to be completed by May 1, 2023.
26           3. Other Items.
27                     a. Plaintiff will be allowed until January 4, 2023 to join additional parties and
28                         until January 4, 2023 to amend the pleadings.



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                    b. Defendants will be allowed until January 4, 2023 to join additional parties and
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                        until January 4, 2023 to amend the pleadings.
 2
                    c. The parties shall mediate by April 3, 2023.
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                    d. All potentially dispositive motions must be filed by May 18, 2023.
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                    e. The parties request a pretrial conference in June 2023.
 5
                    f. Final lists of witnesses and exhibits under Rule 26(a)(3) will be due from
 6
                        Plaintiff and from Defendants seven days prior to the pretrial conference.
 7
                    g. Parties shall have ten (10) days after service of final lists of witnesses and
 8
                        exhibits to list objections under Rule 26(a)(3).
 9
                    h. The case should be ready for trial by July 1, 2023 and at this time, the trial is
10
                        expected to take approximately three days.
11
                    i. The parties do not request a conference with the Court before entry of this
12
                        Order.
13
                    j. The parties request a status conference on August 11, 2022 and will endeavor
14
                        to schedule a status conference every 45 days thereafter.
15
                    k. This Order supersedes any prior scheduling order entered in this Adversary
16
                        Proceeding.
17
                    l. The Parties shall meet and confer if any other orders, statements, or directives
18
                        issued by the Court alter, affect, or relate to this Order.
19
                    m. All deadlines in this order are agreed to and entered subject to a motion to
20
                        modify such deadlines under the Federal Rules of Civil Procedure.
21
     Respectfully submitted by:
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     HARTMAN & HARTMAN
23
     /s/ Jeffrey L. Hartman
24
     Jeffrey L. Hartman, Esq., Attorney for Plaintiff
25   MELAND BUDWICK, P.A.
26   /s/ Meaghan E. Murphy
27   Meaghan E. Murphy, Esq., Attorney for Plaintiff

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     DIEMER & WEI, LLP
 1
 2   /s/Kathryn S. Diemer
     Kathryn S. Diemer, Esq., Attorney for Defendants
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